                             No. 23-1380

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE TENTH CIRCUIT

                Rocky Mountain Gun Owners, et al.,
                      Plaintiffs-Appellants,

                                   v.
                Jared S. Polis, in his official capacity
                as Governor of the State of Colorado,
                        Defendant-Appellee,


            Appeal from the United States District Court
                     for the District of Colorado
             No. 1:23-cv-2563-JLK (Hon. John L. Kane)


                 APPELLANTS’ REPLY BRIEF


                     Oral Argument Requested


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                                                   v
                           INTRODUCTION

     It is indisputable that a waiting period law burdens the right to

keep and bear arms. See, e.g., Answer Br. at 1 (the purpose of the

Colorado Waiting Period Act is “a cooling off period” for the purchaser of

a firearm—thus burdening the right to keep and bear arms). It is also

indisputable that waiting period laws did not exist at the Founding or

for 150 years after the Founding. Id. at 42 n. 7 (“Waiting period laws

themselves have been around for 100 years.”). Other than these two

facts, everything else is window-dressing.

     This Court may credit the experts below, or the amici here, with

the argument that a waiting period law will save some number of lives.

Indeed, the Court will notice that Appellee emphasizes that argument

above all others. Id. at 8 (beginning its brief with the doctrinally

irrelevant statement that “Colorado’s Waiting Period Act will save

approximately 100 lives over the next year.”). That reliance is telling,

because even a cursory reading of New York State Rifle & Pistol

Association, Inc. v. Bruen, 597 U.S. 1 (2022), rejects such logic as a

means to save Colorado’s Waiting Period Act. Id. at 24 (“In sum, the


                                    1
Courts of Appeals’ second step is inconsistent with Heller’s historical

approach and its rejection of means-end scrutiny.”).1

     Separately, the fact that the parties disagree about history is

unsurprising. But after Bruen, courts do not weigh historical records

against each other. Rather, the government either meets or fails its

burden under Bruen to establish a relevant historical analogue. If, at

the end of the day, the history is does not resolve the question before

the Court, the plaintiff wins.

     In sum, this Court should reverse the District Court, and enter a

preliminary injunction until a decision on the merits is reached below.


I.   APPELLEE DOES NOT DISPUTE THIS                           COURT’S
     JURISDICTION OR APPELLANTS’ STANDING.

     Appellee does not dispute Appellants’ standing to bring this

matter, or this Court’s jurisdiction on appeal. Nor could it. Both Alicia


1 The three amici, Everytown for Gun Safety, Brady Center to Prevent

Gun Violence and Giffords Law Center to Prevent Gun Violence, and a
Coalition of states and the District of Columbia themselves engage in
the forbidden means-end reasoning. They offer no unique arguments
not advanced by Appellee.



                                    2
Garcia and members of Rocky Mountain Gun Owners have purchased

firearms, obtained title to those firearms, and yet could not leave the

transferring Federal Firearms Licensee (“FFL”) with their newly

acquired firearm, solely due to the Waiting Period Act. And the same

unconstitutional burden will fall on them time and again, with future

purchases of other firearms.

      These basic facts establish that Appellants’ Second Amendment

rights are burdened by the Act. Accord Opening Br. at 10-11 (“Ms.

Garcia’s unchallenged testimony is that her business is impacted as a

firearms instructor and range safety officer, who regularly purchases

firearms.”); id. at 11 (“Taylor Rhodes, Executive Director of Rocky

Mountain Gun Owners, testified that RMGO’s members, himself

included, were burdened by the Waiting Period Act.”). Thus, the Court

may entertain this dispute, and it possesses jurisdiction under Article

III to resolve the matter in Appellants’ favor.


II.   AN INJUNCTION            IS   NOT     DISFAVORED        IN    THIS
      CONTEXT.

      Appellee has no response to the argument that an injunction

based on a constitutional challenge to a law, sought on the effective date
                                    3
of the law, does not truly disrupt the status quo. Appellee lacks

authority to the contrary, merely citing to the District Court’s opinion,

which recognized the truism that this suit was filed on the Waiting

Period Act’s effective date, which was October 1, 2023.

      But this is not responsive to Appellants’ reliance on Schrier v.

University of Colorado, 427 F.3d 1253 (10th Cir. 2005), where the Tenth

Circuit held that a request to be reinstated as a Chair of a university

department “preserved,” rather disturbed the status quo, because it

placed the parties in their last uncontested state. Nor does Appellee

contend with the argument that its logic would mean that every appeal

of a denial of a preliminary injunction would be disfavored, because the

relevant laws at issue would go into effect during the pendency of the

litigation.

      Thus, while obtaining a preliminary injunction certainly requires

that Appellants establish the relevant elements, their request in the

instant matter is not disfavored. Cf. League of Women Voters of North

Carolina v. North Carolina, 769 F.3d 224, 236 (4th Cir. 2014) (where

group filed a challenge “on the very same day” that same-day voter


                                    4
registration was eliminated, the court held that “[w]ithout doubt, this is

the language and stuff of a prohibitory injunction seeking to maintain

the status quo.”).

     Second, Appellee relies on a series of First Amendment challenges

(mostly in the overbreadth context) for the proposition that facial

challenges generally are disfavored. Answer Br. at 12. In addition to

offering no analysis as to how these cases apply in the context of motion

for a preliminary injunction—particularly against a law which applies

uniformly to almost all firearm transfers in Colorado—the cases are

intuitively inapposite. Appellants Garcia and RMGO seek to enjoin the

Waiting Period Act so that they can exercise their own, personal

constitutional rights under the Second Amendment. Their challenge is

no more disfavored than those in D.C. v. Heller, 554 U.S. 570 (2008), or

Bruen itself. Accord Heller, 554 U.S. at 581 (“We start therefore with a

strong presumption that the Second Amendment right is exercised

individually and belongs to all Americans.”). The Court should thus

approach this dispute without any “disfavoring” the preservation of

Appellants’ constitutional rights.


                                     5
III. APPELLANT SATISFIES BRUEN STEP 1.

     A.    The Plain Text of the Second Amendment Covers Appellants’
           Conduct.

     Appellants were denied the ability to take possession of firearms

that they purchased for lawful purposes—including self-defense in their

homes. The Waiting Period Act prohibited Appellants from doing so

without being subjected to an arbitrary, unnecessary, burdensome, and

useless delay.

     The right to “keep” arms necessarily implies the right to obtain

arms. After all, “keep” means to possess or “have weapons.” Heller, 554

U.S. 570, 582 (2008). By the Waiting Period Act’s very terms, it

prevents individuals from taking “possession” of their firearms.

Therefore, because the Second Amendment’s plain text covers

Appellants’ conduct – i.e., possessing bearable arms – “the Constitution

presumptively protects that conduct.” Id., 597 U.S. at 24 (emphasis

added). Appellants have met their burden under Bruen, and the

Waiting Period Act is presumptively unconstitutional.




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     B.    Appellee Repeats Its Error of Mis-framing the Right at Issue
           as the “Immediate” Access to Firearms.

     “The right of the People to keep and bear Arms, shall not be

infringed.” Both the keeping and the bearing of arms necessarily

implies the right to obtain arms, and therefore implicates the text of the

Second Amendment. See Rocky Mountain Gun Owners v. Polis, No. 23-

cv-01077-PAB, 2023 WL 5017253 (D. Colo. Aug. 7, 2023), *12-13

(collecting cases) (“The Court agrees with the Individual Plaintiffs that

the Second Amendment includes the right to acquire firearms and,

therefore, protects the Individual Plaintiffs’ proposed conduct.”)

(emphasis added); cf. Minneapolis Star and Tribune Co. v. Minnesota

Com’r of Revenue, 460 U.S. 575 (1983) (tax on the use of ink and paper

directed at newspapers violated the First Amendment); Western

Watersheds Project v. Michael, 869 F.3d 1189, 1194 (10th Cir. 2017)

(collecting data on public lands was protected by First Amendment).

Indeed, all rights “implicitly protect those closely related acts necessary

to their exercise.” Luis v. United States, 578 U.S. 5, 26 (2016) (Thomas,

J., concurring). The right to keep and bear arms obviously implies the

right of acquisition.

                                    7
     Appellee’s response is that the Waiting Period Act doesn’t take

away anyone’s firearms, so it does not deny anyone the right to keep or

bear arms, or even implicate the Second Amendment; but Appellee

offers no response to Appellants point that this logic would never carry

the day in the context of a First Amendment challenge. For example, a

mandatory 3-day delay on offering a political stump speech—to avoid a

candidate engaging in impulsive rhetoric—does not “take away”

anyone’s right to speak, it just delays it. Cf. Hill v. Colorado, 530 U.S.

703, 745 (2000) (Scalia, J., dissenting) (“The strictures of the First

Amendment cannot be avoided by regulating the act of moving one’s

lips; and they cannot be avoided by regulating the act of extending one’s

arm to deliver a handbill, or peacefully approaching in order to speak.”).

     Yet there is little doubt that courts would look askance at such

efforts to thwart constitutional rights—certainly, no court would say

that such a prohibition does not implicate the First Amendment at all.

Cf. Silvester v. Beccera, 138 S. Ct. 945, 951-52 (2018) (Thomas, J.,

dissenting from denial of certiorari) (noting how eager courts would be




                                    8
to strike down a 10-day waiting period on racist speech or, pre-Dobbs,

abortion). 2

      Both the District Court and Appellee mis-frame the right as one of

“immediate acquisition.” Not so. Appellants do not challenge the time it

takes for an FFL to conduct a background check in order to ensure that

a purchaser is not a prohibited possessor. That is why Appellants relied

on the McRorey v. Garland, 23-cv-00047-O, 2023 WL 5200670, at *5

(N.D. Tex. Aug. 14, 2023) case in their Opening Brief. That case noted

that waiting periods implicate the Second Amendment, but that a

2 The Court ought to take notice that Appellee’s position is apparently

that the Second Amendment doesn’t protect the right to obtain a
firearm within any defined time period at all. See Answer Br. at 28
(referring to a 7-month long or 2-year long waiting period to obtain a
firearm). If the Court rejects Appellants’ challenge on the logic that the
Second Amendment does not guarantee that an individual may obtain a
firearm within any given time period, there is no fairly-drawn limiting
principle to that conclusion.

Also, to be clear, Appellee’s references to 7-month and 2-year waiting
periods in Connecticut Citizens Defense League, Inc. v. Thody, 664
F.Supp.3d 235 (D. Conn. 2023), are not conclusions related to the
Second Amendment—although Appellee misleadingly suggests that
they are. Instead, they are references to the fact that before Bruen,
there were no cases clearly establishing that such waiting periods are
unconstitutional, solely for qualified immunity purposes.



                                    9
waiting period associated with a background check is consistent with

the nation’s historical tradition of firearms regulation. It did not hold

that the Second Amendment said nothing about waiting periods. That

would be a truly dangerous conclusion.

      Any right can be defined so narrowly as to read it out of the

Constitution. But the Court should not allow itself to be manipulated in

this way. To be clear, Appellants have never suggested that “immediate

acquisition” of firearms is the right at issue in this case; indeed, some

delay will always exist while a background check happens. Appellants

instead challenge the imposition of an arbitrary delay in exercising

their Second Amendment rights that continues even after successfully

completing a background check. At a minimum, that delay burdens

Appellants’ Second Amendment rights, and thus survives Bruen Step 1.


IV.   THE WAITING PERIOD ACT IS NOT A PRESUMPTIVELY
      LAWFUL COMMERCIAL REGULATION.

      The District Court held that the Waiting Period Act is a

“commercial regulation” that was presumptively lawful. It is not. Its

very purpose is to impose a burden on the exercise of the individual

right to keep and bear arms, and the Court should reject the effort as
                                 10
trickery by the Appellee and the Colorado legislature. Cf. United States

v. Price, 635 F.Supp.3d 455, 460 (S.D. W.V. 2023) (“[A] blatant

prohibition on possession” of a firearm is not a commercial regulation.”);

United States v. Marique, 647 F.Supp.3d 382, 385 (D. Md. 2022)

(commercial regulations are those that do not intrinsically “implicate an

individual’s right of possession”).

     To be sure, the Heller plurality stated that true commercial

regulations on the sale of firearms were still “presumptively lawful.”

District of Columbia v. Heller, 554 U.S. 570, 627, n.26 (2008). In that

context, the Heller Court referred to “laws imposing conditions and

qualifications on the commercial sale of arms.” McDonald v. City of

Chicago, Ill., 561 U.S. 742, 786 (2010). Notably, the footnote had the

votes of only four Justices, and is thus not binding precedent on this or

any other Court. Nevertheless, even crediting the point, the logic of the

District Court and Appellee is that because the law imposes sanctions

on the merchant and not the purchaser, it must be a commercial

regulation. But affirming this reductive logic would open a pandora’s

box of new restrictions on the right to keep and bear arms.


                                      11
     Though the law may impose penalties on sellers, it imposes a

“burden on the right of armed self-defense,” as conceded by the District

Court. App. Vol. III at 770. That concession, and the obvious burden

that the Waiting Period Act places on an enshrined Constitutional

right, moves the law past Bruen’s step one.

     Moreover, Appellee does not adequately respond to the argument

that even a “commercial regulation” is not presumptively constitutional

if it is merely a pretext for burdening an individual right to keep and

bear arms. Appellee asserts without evidence that a three-day waiting

period is not abusive, because it is the shortest in the country. But that

is a non-sequitur. A pretextual law is per se abusive. Antonyuk v.

Chiumento, 89 F.4th 271, 316 (2d. Cir. 2023).


V.   THE DISTRICT COURT ERRED BY RELYING                              ON
     SUPPOSED PRACTICALITIES IN ACQUIRING ARMS.

     Appellee cites no case for the proposition that courts applying

Bruen must take account of practically analogous circumstances where

an individual was similarly unable to defend himself because it took

time to obtain an arm. Instead, Bruen takes account only of legal

analogues, not factual or practical ones. See Bruen, 597 U.S. at 24 (“The
                                    12
government must then justify its regulation by demonstrating that it is

consistent with the Nation’s historical tradition of firearm regulation.”)

(emphasis added); id. at 28 (“Following the course charted by Heller, we

will consider whether ‘historical precedent’ from before, during, and

even after the founding evinces a comparable tradition of regulation.”)

(emphasis added); id. at 28-29 (“[D]etermining whether a historical

regulation is a proper analogue for a distinctly modern firearm

regulation requires a determination of whether the two regulations are

“‘relevantly similar.’”) (emphasis added); id. at 29 (“[W]e do think that

Heller and McDonald point toward at least two metrics: how and why

the regulations burden a law-abiding citizen’s right to armed self-

defense.”) (emphasis added).

     It is not even clear why Appellee advances its argument based on

practical circumstances—Appellants are aware of no court, other than

the District Court below, that thought it appropriate to address all

historical circumstances, rather than those specifically laid out and

delineated by Bruen.




                                   13
     In any event, both the District Court and the Appellee make a

fundamental factual error that firearms were not available for purchase

at the time of the Founding. App. Vol. II at 412. The uncontroverted

evidence in the record shows that an individual could indeed go to a

merchant and purchase a firearm. 3 There is no evidence rebutting the

availability of firearms at the Founding, or the fact that no state or

municipality imposed a waiting period.

     As   examples,    Benjamin    Franklin’s   Pennsylvania    Gazette

published advertisements of firearms for sale throughout its history:




3 See App. Vol. II at 415-23 (collecting advertisements of firearms from

sale as early as 1728 and continuing after the Founding).



                                   14
Figure 1, Nov 1, 1744, p. 4 advertising “gunpowder, privateering

muskets, trading guns, musket balls, lead and small shot” amongst

various other household goods. App. Vol. III 416 n14.4




4 “[T]he appellate record includes all district court filings and exhibits

as well as transcripts of district court proceedings.” U.S. v. Spigner, 416
F.3d 708, 711-12 (8th Cir. 2005). While these advertisements were
referenced below by Appellants’ expert witness, the images themselves
are not printed in the record. However, they are included here as
illustrative of the testimony in the record.



                                    15
Figure 2, Nov. 3, 1757, p. 3, advertising “a large parcel of muskets and

bayonets” alongside household goods. App. Vol. III 417 n. 20.




                                   16
Figure 3, Sept. 22, 1763, pg. 1 advertisement for retail purchase of

“Spanish Muskets neatly fitted with iron rods, and small bayonets, the

Locks are large and well made and the whole Piece very handy and

convenient for common use.” App. Vol. III 416 n. 11.




                                  17
Figure 4 September 6, 1764, pg. 1 ad for retail purchase “rifle double

barreled, smooth bore guns, pistols, flints, bullets, and shot molds”

alongside other household goods. App. Vol. III 416 n.10.

     These advertisements show that near the time of the Founding,

firearms were commonly available, and were lumped in with things like

shoes, buckles, pepper, and cloth. They were not separated out and

treated differently than any other household item. None other than

Benjamin Franklin implicitly endorsed this view by allowing these ads

in his Pennsylvania Gazette.
                                   18
      The District Court did not meaningfully engage with this

evidence. Instead, the District Court essentially dismissed Appellant’s

expert due to his lack of a Ph.D., ignoring the many books and peer-

reviewed articles that Mr. Cramer produced throughout his career,

including multiple citations by Courts. The District Court then held

that the Waiting Period Act was merely a “commercial regulation” that

was presumptively lawful. As outlined above, it is not. It imposes a

burden on the exercise of the God-given right to keep and bear arms

recognized in the Bill of Rights. The Waiting Period Act prevents “the

People” (and there is no question that Plaintiff-Appellants are among

“the People” the Second Amendment protects) from “keeping” and

“bearing” arms for an arbitrary length of time. It therefore implicates

the text of the Second Amendment.


VI.   THE DISTRICT COURT ERRED IN RULING THAT THE
      ACT IS IN LINE WITH THE HISTORY AND TRADITION OF
      FIREARMS REGULATION.

      The District Court held that even if it reached Bruen Step 2, the

Waiting Period Act is in line with the history and tradition of the

nation’s firearms regulation. It is not. It is undisputed that the first

                                  19
waiting period enacted in the United States was in California in 1923

for handguns alone. App. Vol. II at 463-64. Colorado was a state for

almost 150 years before the Waiting Period Act came into law. To get

around the clear lack of a historical tradition of imposing arbitrary

waiting periods, the State and the District Court turn to ill-fitting

analogies in an effort to justify the unconstitutional law.

     It is the government’s burden to identify a “well-established and

representative historical analogue.” Bruen, 597 U.S. at 30. Appellee and

the District Court start from the aggressive position that “impulsive

gun violence” is a new societal harm, which was not even a “general”

societal problem at the Founding. Nonsense. United States v. Duarte,

No. 22-50048, — F.4th —, 2024 WL 2068016, at *14 (9th Cir. May 9,

2024). But according to its own argument, firearms were used in 10-15%

of homicides at the Founding. Similarly, gun violence was rampant

during the Reconstruction Era leading to the Ku Klux Klan Act of 1871.

Yet even then, in an era where many in the south had been disarmed by

the federal government, no waiting period was imposed on the

acquisition of firearms. App. Vol. II at 541.


                                    20
     Rather than being an “unprecedented societal concern”, firearm

violence is neither new nor novel. It existed at the time of the Founding

and in every year thereafter. Id.; Duarte, 2024 WL 2068016, at *14

(citing Bruen, 597 U.S. at 26, 27); cf. Price, 635 F.Supp.3d at 463 (where

a regulation is directed at stopping “crime” or “crimes involving

firearms,” “[i]t is difficult to imagine that this societal problem did not

exist at the founding.”). It certainly existed at the time of the

Fourteenth Amendment in 1868.5

     Even with this “societal problem” in full existence at the time of

the Founding, the Founders understood the importance of the people

having the right to keep and bear arms for their defense and the

defense of Liberty. See James Madison The Federalist Papers, No. 46,

January 29, 1788.




5The Supreme Court has not clarified the extent to which the 14th
Amendment is relevant to the historical analysis.



                                    21
     A.    Intoxication laws are a poor analogy to the Waiting Period
           Act.

     The state and the District Court decided to rely on pre-Founding

and Founding-era laws regulating intoxication and firearm usage. App.

Vol. III at 823-24. Those laws are particularly poor analogies because

they did not, as the Waiting Period Act does, assume that everyone is

always intoxicated, and must wait 72 hours after passing a background

check to sober up. Appellee simply has no adequate response to this.

Indeed, Appellee never reflects long enough to recognize that there are

numerous reasons “why” public officials would want prevent intoxicated

individuals from obtaining firearms—the likelihood of careless and

negligent discharge, the suspicious nature of anyone becoming

intoxicated and only then seeking to purchase a gun, and of course, that

intoxicated people—impulsive or no—often make bad decisions, even if

they have plenty of time to consider their actions.

     The laws that Appellee and the District Court cite to, such as the

1655 Virginia law that banned “shoot[ing] guns at drinking,” had little

to do with the “how” and “why” that Bruen commands be analogous.

Bruen, 597 U.S. at 29. The record shows that banning stray gun shots

                                    22
while drinking related to collective security. Firing warning shots was

how early Virginians alerted each other to Native American attacks.

App. Vol. II at 538. So, the “how” and “why” had little to do with

impulsive violence, instead focusing on common defense. While the

District Court hand-waved that inconvenient fact away, the state never

countered that there was a different motivating cause. States enacted

laws that restricted drinking and using firearms throughout the latter

half of the Nineteenth Century, but those only applied to an individual.

They did not apply to the entire population of the states. App. Vol. III at

767-69. The intoxication laws might be good analogies to modern laws

such as C.R.S. § 18-12-106 that bans the possession of a firearm while a

person is under the influence of an intoxicating liquor, but not to the

Waiting Period Act.

     B.    Licensing regimes are not a historical analogue to the
           Waiting Period Act.

     Appellee and the District Court argue that various licensing

requirements are analogies to the Waiting Period Act. But there is no

such analogy. The first licensing regime in the United States was the

notoriously odious Sullivan Act in New York in 1911, entirely too late to

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be an analogy from the Founding. Moreover, the Sullivan Act only

required licensing for concealed carry. The first federal licensing was

enacted in 1938, the National Firearms Act, requiring sellers of

firearms to receive a federal license.

     While Appellee and the District Court relied on a compilation of

laws gathered by Professor Robert Spitzer, it is clear that the

“licensing” laws that he’s collected are of a different kind than at issue

here. For instance, states both north and south had requirements for

free blacks and Native Americans to get a license from an official to

possess a firearm. Others required permission to fire shots within city

limits or during certain times. See App. Vol. I at 200 et seq. They were

not universal licensing regimes. Instead, they were regimes rooted in

racism and bias regarding disfavored racial groups. Id., Duarte, 2024

WL 2068016, at *20-26 (rejecting race- and religious-based licensing as

a proper analogue). Nearly every true licensing system came into being

in the twentieth century. As such, they are too distant from the

Founding to be relevant to the analysis. Moreover, the “how” and “why”




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of licensing regimes have no historical analogous from the Founding

period.

     C.    Firearms were common at the Founding, Yet There Were No
           Waiting Period Laws.

     Appellee and the District Court simply err by asserting that

firearms – the obtaining or use of them – were not part of general

American society at the time of the Founding. They were. As shown

above, firearms were freely available for purchase at shops. In addition

to this, the Militia Act of 1792 required every “free able-bodied white

male citizen” to be enrolled in the state militia. Those militiamen were

required to acquire a firearm:

     That every citizen so enrolled and notified, shall, within six
     months thereafter, provide himself with a good musket or
     firelock, a sufficient bayonet and belt, two spare flints, and a
     knapsack, a pouch with a box therein to contain not less
     than twenty-four cartridges, suited to the bore of his musket
     or firelock, each cartridge to contain a proper quantity of
     powder and ball: or with a good rifle, knapsack, shot-pouch
     and powder-horn, twenty balls suited to the bore of his rifle,
     and a quarter of a pound of powder; and shall appear, so
     armed, accoutred [sic] and provided, when called out to
     exercise, or into service, except, that when called out on
     company days to exercise only, he may appear without a
     knapsack.

Public Acts of the Second Congress, 1st Session, Chapter 33.

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         It cannot be true that every adult male between 18 and 45 was

required to possess a musket, firelock, or rifle and at the same time that

firearms were rare. There is no universe where those two claims can co-

exist.

         It is important to understand the historical context that led to the

Militia Act of 1792. The Founders had just come out of the American

Revolution, where famously the Minutemen had used their own

firearms to engage in combat with the British Army. Even after the

ultimate defeat of the British Empire, concern over maintaining a

standing army led to the disbandment of most of the Continental Army

in 1783.      In its place, the founding generation relied on militias for

collective defense until the First World War. App. Vol. III at 602.

Imposing an arbitrary waiting period for those seeking to acquire

firearms so that they could defend themselves and their states and

country would have been seen as anathema to the Founders.

         Early America saw several armed rebellions: Shay’s Rebellion, the

Whiskey Rebellion, Fries’s Rebellion, the 1838 Mormon War, Bleeding

Kansas, Dorr’s Rebellion, John Brown’s Revolt, the Utah War, and


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multiple armed confrontations with Native Americans. All off these

events occurred between the Founding and the ratification of the

Fourteenth Amendment. The Founders knew and understood that

firearms could be used for violent purposes. Yet they imposed no

waiting period to acquire a firearm.

     The state and the District Court made much of the supposed

practical difficulty in acquiring a firearm. Not so. As the record shows,

ads for firearms from gunsmiths and hardware stores show availability

for a person to walk in, purchase a firearm, and walk out. Even if an

early U.S. citizen was made to wait for a firearm to be shipped or

delivered, the government imposed no conditions on the sale of

firearms, except based on disfavored racial groups. App. Vol. III at 599.

Although the state’s expert, Professor Roth, referenced laws in the

South in the Founding period that restricted the rights of Freedmen

and Enslaved African Americans alike from owning or possessing

firearms, he could cite no laws that applied to free people of any age.

App. Vol. II at 333-34.




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VII. IF THE COURT FINDS THE HISTORICAL RECORD TO BE
     INDETERMINATE,      THE      PLAINTIFF    HAS
     DEMONSTRATED A LIKELIHOOD OF SUCCESS ON THE
     MERITS.

     “The constitutional imperative is on the government to not

infringe the right to keep and bear arms. The correct starting

orientation is that no arm may be prohibited.” Miller v. Bonta, — F.

Supp. 3d — 2023 WL 6929336, *36 (S.D. Cal. Oct. 19, 2023) (quotation

marks omitted). In other words, the fact that history may be

contradictory or indeterminate leads to a clear doctrinal result—the

constitutional challenge succeeds. See Bruen, 597 U.S. at 26 (“The

Second Amendment is the very product of an interest balancing by the

people and it surely elevates above all other interests the right of law-

abiding, responsible citizens to use arms for self-defense. It is this

balance—struck by the traditions of the American people—that

demands our unqualified deference.”) (emphasis added and cleaned up);

id. at 34 (“[T]he burden falls on respondents to show that New York’s

proper-cause requirement is consistent with this Nation’s historical

tradition of firearm regulation.”).



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     The Second Amendment context is no different than other areas of

law where constitutional rights are squarely at issue—unless the

government can persuade the Court that it has met its burden, it

hasn’t. Accord Bevis v. City of Naperville, Ill., 657 F. Supp. 3d 1052,

1066 n.6 (N.D. Ill. 2023) (“Bruen indicates that judges, not party elected

experts, will assess the Second Amendment’s history.”). Thus, to the

extent that the Court is unsure as to whether Appellee has satisfied its

onerous burden under Bruen Step 2, the appropriate next step is to find

that Appellants are likely to succeed on the merits, because the

government has in fact failed to meet its heavy burden.


VIII. APPELLANTS ARE SUFFERING IRREPARABLE HARM,
      AND THE BALANCE OF HARMS AND PUBLIC INTEREST
      FACTORS SUPPORT ENTRY OF INJUNCTIVE RELIEF.

     A.    Appellants are suffering irreparable harm due to the
           Waiting Period Act.

     In their Answer Brief, Appellee argues that Appellant RMGO has

failed to establish that either it as an organization, or any of its

members, have suffered irreparable harm. But this assertion is

factually inaccurate. Taylor Rhodes, the Executive Director of the

RMGO, testified at the Preliminary Injunction hearing that since the
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Act went into effect, RMGO, whose organizational mission is to defend

the Second Amendment rights of its membership, has had to devote “a

very high portion of [its] resources” to assist its approximately 16,000

members with understanding and navigating the Act. App. Vol. II at

532.

       Mr. Rhodes testified that in the first three weeks of the Waiting

Period    Act’s   implementation,    RMGO      had   already   received

approximately 100 calls from members who experienced difficulties

acquiring firearms. App. Vol. II at 524. Thus, RMGO members continue

to be impacted by an unconstitutional and arbitrary waiting period.

       Mr. Rhodes also testified at the Preliminary Injunction Hearing

that the Waiting Period Act “infringed upon the rights of members of

Rocky Mountain Gun Owners.” App. Vol. II at 524. Mr. Rhodes went on

to testify that his members were “upset . . . because they [could] not

acquire firearms in a reasonable manner.” App. Vol. II at 524. Mr.

Rhodes provided additional testimony about one RMGO member who

had called just a few days before to relay that he (the member) “had

never purchased a gun before”, but recently “went to Cabela’s to


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purchase a shotgun and was denied the opportunity” due to the Waiting

Period Act. App. Vol. II at 527. As was the case for Appellant Garcia,

the arbitrary three-day waiting period has imposed a limitation on this

RMGO member’s Second Amendment rights to keep and bear arms.

Moreover, because of Appellant Garcia’s profession, the Waiting Period

Act will cause her injury again and again. RMGO can thus establish

harm on behalf of its members as well.

      Mr. Rhodes is also a member of RMGO in addition to being its

executive director. App. Vol. II at 530. He testified that he purchased a

firearm after passing a background check, acquired title to it, but was

unable to possess it for three days due to the Waiting Period Act. App.

Vol. II at 525.

      It is indisputable that the right to possess arms cannot be

exercised unless individuals have the right to obtain them. See Teixeira

v. Cnty. of Alameda, 873 F.3d 670, 677 (9th Cir. 2017) (“The core Second

Amendment right to keep and bear arms for self-defense wouldn’t mean

much without the ability to acquire arms.”) (quoting Ezell v. City of

Chi., 651 F.3d 684, 704 (7th Cir. 2011).      Any time that Appellant


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Garcia, Mr. Rhodes, or any other member of Appellant RMGO attempts

to purchase a firearm in Colorado in the future, they will be denied

possession of those firearms, even if they have cleared a background

check and rendered full payment for them. It is irrelevant to the

discussion of harm that the denial of this basic Constitutional right is

temporary. As discussed in the Opening Brief, even a brief violation of

constitutional rights constitutes irreparable injury. Elrod v. Burns, 427

U.S. 347, 373-74 (1976) (loss of constitutional freedom “for even

minimal periods of time” unquestionably constitutes irreparable injury).

     B.       The balance of harms and public interest factors support
              entry of injunctive relief.

     It is not only the Appellants’ Second Amendment rights that have

been violated by the Waiting Period Act, but also those of all law-

abiding Coloradans seeking to purchase a firearm. Because of that, the

balance of equities in this case weighs in favor of granting a preliminary

injunction.    “[P]ublic   interest   concerns   are   implicated   when   a

constitutional right has been violated, [and] all citizens have a stake in

upholding the Constitution.” Baird v. Bonta, 81 F.4th 1036, 1042 (9th

Cir. 2023) (internal citation and quotation marks omitted; cleaned up).

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In Chamber of Com. of U.S. v. Edmondson, 594 F.3d 742, 771 (10th Cir.

2010), the Tenth Circuit held that when applying these factors, courts

must be mindful that even if a state is pursuing a legitimate goal (in

that case, deterring illegal immigration), it has no interest in doing so

by unconstitutional means, because a state “does not have an interest in

enforcing a law that is likely constitutionally infirm.” Id. “Moreover, the

public interest will perforce be served by enjoining the enforcement of

the invalid provisions of state law.” Id. (internal quotation marks and

citation omitted). See also Utah Licensed Beverage Ass’n v. Leavitt, 256

F.3d 1061, 1076 (10th Cir. 2001) (public interest favors preliminarily

enjoining state statutes likely to be held unconstitutional).

     In the present case, the District Court held that because there was

an important government interest advanced by the Waiting Period Act

(namely, reducing impulsive gun violence), the balance of harm tipped

in the state’s favor. But in reaching this conclusion, the District Court

employed the type of backdoor means-end test that has been rejected by

Bruen. 142 S. Ct. at 2129 (rejecting means-end scrutiny in Second

Amendment cases). “[T]he government may not simply posit that the


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regulation promotes an important interest [such as public safety].

Rather, the government must demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation.”

Id., 142 S. Ct. 2126.

      Appellee now invites this Court to employ the exact same

impermissible means-end test by suggesting that the number of people

who may be “save[d]” by the Waiting Period Act is relevant to the

constitutionality of the Act. But again, the Supreme Court explicitly

forbade consideration of the proposed outcome of laws that implicate

the Second Amendment. And it is easy to see why. The state could just

as easily enact a law that the delayed release of news critical of the

state would save lives and find an expert to opine on the result; or

delaying the right to an attorney; or to peaceably assemble, and on, and

on until the right itself was watered down to nonexistence.


IX.   THE DISTRICT COURT FAILED TO FAITHFULLY APPLY
      BRUEN.

      In Bruen, the Court elaborated exactly how Second Amendment

jurisprudence must proceed.       Most   importantly, recognizing the

unqualified command of the Second Amendment’s text, the Court in
                               34
Bruen held that lower courts may not use “means-ends” logic. Instead,

lower courts must evaluate history—as they often do in other contexts

involving public-meaning originalism—and decide questions regarding

historical precedents:

     When the Second Amendment’s plain text covers an
     individual’s conduct, the Constitution presumptively
     protects that conduct. The government must then justify its
     regulation by demonstrating that it is consistent with the
     Nation’s historical tradition of firearm regulation. Only then
     may a court conclude that the individual’s conduct falls
     outside the Second Amendment’s “unqualified command.”

Bruen, 597 U.S. at 24. The District Court resisted Bruen’s emphasis on

looking to historical precedents regarding firearms regulations, even if

it acknowledged that it was bound by it. It offered a prologue to its

judicial analysis, wringing its hands that it had “reservations” about

Bruen’s methodology:




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     While I perform the analysis as instructed, I have
     reservations that turning to a particular historical era
     should dispositively determine how we conceive of and
     defend certain rights. The first is practical; I am a judge and
     not an historian. … The second is that this approach can be
     self-defeating. Since Bruen instructs me to consider the
     historical evidence the parties present and argue, it is not
     inconceivable that the parties would present historical
     accounts inconsistent with the holdings of Bruen, Heller, or
     McDonald.

App. Vol. III at 760, n.13.

     This faux modesty should be met with heavy skepticism, and

trigger probing scrutiny from this Court. When judges unnecessarily

express their personal disagreement or frustration with binding

precedent—whether      Bruen    or   otherwise—it   naturally   leads   to

skepticism among the public that the proper historical analysis was

correctly applied, ab initio. This Court can help rebut that skepticism

by closely scrutinizing the District Court’s reasoning,


                        CONCLUSION
     The Waiting Period Act is an unconstitutional burden on the

exercise of    law-abiding    Coloradans’   Second Amendment      rights.

Appellants brought this case to prevent the infringement on the right of

all Coloradans to keep and bear arms. It would be troubling to let these

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violations continue to occur until final judgment can be entered in the

case. This Court should reverse, and enter a preliminary injunction in

favor of Appellants.

DATED this 22nd day of May 2024.

                                Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

        This motion complies with the requirements of the Fed. R. App. P.

27(d) and Circuit Rules 27-1(1)(d) and 32-3(2) because it contains 6,285

words.

        This motion also complies with the typeface requirements of Fed.

R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because this motion has been prepared in a proportionally

spaced typeface using Microsoft Word in 14-point Century Schoolbook

font.

DATED this 22nd day of May 2024:

                                         /s/ D. Sean Nation
                                         D. Sean Nation




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             CERTIFICATE OF ELECTRONIC FILING

     In accordance with this Court’s CM/ECF User’s Manual and Local

Rules, I hereby certify that the foregoing has been scanned for viruses

with Sentinel One, updated May 22, 2024, and is free of viruses

according to that program.

     In addition, I certify that all required privacy redactions have

been made and the electronic version of this document is an exact copy

of the written document to be filed with the Clerk.

DATED this 22nd day of May 2024.

                                        /s/ D. Sean Nation
                                        D. Sean Nation




                                   39
                     CERTIFICATE OF SERVICE

     I certify that on May 22, 2024, I caused the foregoing to be filed

through the Court’s CM/ECF system, with the Clerk of the Court for the

United States Court of Appeals for the Tenth Circuit through the

Court’s CM/ECF system. I certify that all participants in the case who

are registered CM/ECF users will be served by the appellate CM/ECF

system and that a PDF copy of this motion will be emailed to opposing

counsel immediately after it is filed.

DATED this 22nd day of May 2024.

                                         /s/ D. Sean Nation
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